Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 1 of 23




                     EXHIBIT 1

          Settlement Agreement and
                Mutual Release
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 2 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 3 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 4 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 5 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 6 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 7 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 8 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 9 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 10 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 11 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 12 of 23
          Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 13 of 23
A-PDF Merger DEMO : Purchase from www.A-PDF.com to remove the watermark
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 14 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 15 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 16 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 17 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 18 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 19 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 20 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 21 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 22 of 23
Case 2:15-cv-01673-JCM-GWF Document 10-1 Filed 01/06/16 Page 23 of 23
